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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. 13-60-BAT

10          v.                                           DETENTION ORDER

11 JEANINE M. DANIELS,

12                                Defendant.

13 Offenses charged:

14          Conspiracy to Commit Bank Robbery and Bank Robbery.

15 Date of Detention Hearing: January 31, 2013.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          Defendant is charged with a crime that carries a presumption of detention and has failed

23 to overcome that presumption. The Court received no information about defendant’s ties to the



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 1 community, employment, health or drug use. Defendant has a prior criminal history including

 2 bank robbery convictions. Defendant presented no argument for release and stipulated to

 3 detention.

 4          It is therefore ORDERED:

 5          (1)    Defendant shall be detained pending trial and committed to the custody of the

 6 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 7 from persons awaiting or serving sentences, or being held in custody pending appeal;

 8          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 9 counsel;

10          (3)    On order of a court of the United States or on request of an attorney for the

11 Government, the person in charge of the correctional facility in which Defendant is confined

12 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

13 connection with a court proceeding; and

14          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

15 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

16 Officer.

17          DATED this 31st of January, 2013.

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19                                                        A
                                                          BRIAN A. TSUCHIDA
20                                                        United States Magistrate Judge

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     DETENTION ORDER - 2
